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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

CASE NO.: 8:09-CV-2597-T-30TGW

OWEN HARTY, Individually,

Plaintiff,
Vv.

KIMCO LAKELAND 123, INC., a
Florida corporation,

Defendant.

/

AMENDED STIPULATION FOR VOLUNTARY DISMISSAL WITH PREJUDICE

Plaintiff Owen Harty and Defendant Kimco Lakeland 123, Inc., by and through their
counsel, pursuant to the settlement agreement reached between them, and, pursuant to the Order
dated April 19, 2010 (D.E. 12), respectfully request that the Court review their confidential
settlement agreement in camera, including the provisions thereof as to the attorneys fees and
costs. The Parties hereby agree to modify the terms of their settlement agreement, consistent
with the Order, to the extent that the Defendant will pay the Plaintiff's attorney’s fees and costs
in an amount to be awarded by the Court, up to the maximum amount provided in the settlement
agreement. As provided by the Order, Plaintiffs counsel will be filing his fee and cost affidavit
shortly.

Additionally, the parties request that the Court retain jurisdiction over this matter for

purposes of enforcement of the Settlement Agreement as amended hereby.

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Finally, upon approval of the settlement agreement and the ruling on attorneys fees and

costs by the Court, the parties hereby stipulate to the voluntary dismissal of this action with

prejudice.

Respectfully submitted this 2@ day of April, 2010.

Attorney for Plaintiff

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